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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 17-cr-00168-CMA

UNITED STATES OF AMERICA,

              Plaintiff,

v.

KAREN MC CLAFLIN

           Defendant.
_____________________________________________________________________

              MOTION TO RESTRICT DOCUMENT #88 and #89
_____________________________________________________________________
     Karen McClaflin, by and through her attorney, Thomas J. Hammond, and

pursuant to D.C.COLO.LCrR 47.1 moves this Court to grant Level II restricted access to

(1) Document #89 the Status Report, (2) the brief in support of this motion (Doc.#88),

and (3) any Order revealing the contents of Document #88 and #89. The brief justifying

restriction is filed contemporaneously with this request.

                                                 Respectfully submitted,



                                                 s/ Thomas J. Hammond
                                                 Thomas J. Hammond
                                                 Thomas J. Hammond, P.C.
                                                 1544 Race Street
                                                 Denver, Colorado 80206
                                                 303-321-7902
                                                 Fax: (303)329-5871
                                                 Email: hammondlaw@solucian.com

                                                 Attorney for Karen McClaflin
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                              CERTIFICATE OF SERVICE

       I hereby certify that on March 13, 2019, I electronically filed the foregoing
MOTION TO RESTRICT DOCUMENT #88 and #89 with the Clerk of the Court using
the CM/ECF filing system which will send notification of such filing to the appropriate
parties.



s/ Thomas J. Hammond
Thomas J. Hammond
